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15   Attorneys for Defendant The Rainmaker
       Group Unlimited, Inc
16   .
17                             UNITED STATES DISTRICT COURT

18                                     DISTRICT OF NEVADA

19   RICHARD GIBSON,            and   HERIBERTO Case No. 2:23-cv-00140-MMD-DJA
     VALIENTE,
20                                                      NOTICE OF DISASSOCIATION AND
                       Plaintiffs,                      WITHDRAWAL AS COUNSEL
21
            v.
22
     MGM     RESORTS    INTERNATIONAL,
23   CENDYN GROUP, LLC, THE RAINMAKER
     GROUP UNLIMITED, INC., CAESARS
24   ENTERTAINMENT    INC.,  TREASURE
     ISLAND,   LLC,  WYNN      RESORTS
25   HOLDINGS, LLC,
26                      Defendant.
27
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                                                        07/02/24 Page 2 of 3




 1          PLEASE TAKE NOTICE that Margarita Elias, Esq. is no longer associated or affiliated with

 2   the law firm HOLLEY DRIGGS and is thus no longer counsel of record for Defendant The

 3   Rainmaker Group Unlimited, Inc. Please update all service lists accordingly.

 4          Defendant The Rainmaker Group Unlimited, Inc. shall continue to be represented by Nicholas

 5   J. Santoro, Esq. and Oliver J. Pancheri, Esq. of the law firm of HOLLEY DRIGGS, and Arman Oruc,

 6   Esq., and Alicia Rubio-Spring, Esq., of the law firm of GOODWIN PROCTER LLP.

 7          Dated this 2nd day of July 2024.

 8                                              HOLLEY DRIGGS

 9                                              /s/ Nicholas J. Santoro
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22
                                                Attorneys for Defendant The Rainmaker Group
23                                              Unlimited, Inc.
     IT IS SO ORDERED.
24
     DATED: 7/3/2024
25

26
     ________________________________
27   DANIEL J. ALBREGTS
     UNITED STATES MAGISTRATE JUDGE
                                                   -2-
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                                                        07/02/24 Page 3 of 3




 1                                  CERTIFICATE OF SERVICE

 2          I hereby certify that on the 2nd day of July 2024, a true and correct copy of NOTICE OF

 3   DISASSOCIATION AND WITHDRAWAL AS COUNSEL was served electronically through

 4   with the Clerk of the Court using the CM/ECF system to all counsel of record.

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 8
                                                 /s/ Jana Chaffee
 9                                               An Employee of HOLLEY DRIGGS

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